Case 3:17-cv-01436-RBM-DEB Document 328-3 Filed 09/17/20 PageID.22852 Page 1 of 17



 1   Cheryl A. Williams (Cal. Bar No. 193532)
     Kevin M. Cochrane (Cal. Bar No. 255266)
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 4   Solana Beach, CA 92075
     Telephone: (619) 793-4809
 5

 6   Attorneys for Plaintiff
     WILLIAMS & COCHRANE, LLP
 7

 8                    IN THE UNITED STATES DISTRICT COURT
 9                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10
     WILLIAMS & COCHRANE, LLP;                  Case No.: 17-CV-01436 GPC DEB
11
                        vs.                     DECLARATION OF CHERYL
12                                              WILLIAMS IN SUPPORT OF
                                                WILLIAMS & COCHRANE’S:
13   ROBERT ROSETTE; ROSETTE &                  MOTION FOR SUMMARY
     ASSOCIATES, PC; ROSETTE, LLP;              (1) JUDGMENT UNDER
14                                              FEDERAL RULE OF CIVIL
     QUECHAN TRIBE OF THE FORT                  PROCEDURE 56 AGAINST
15   YUMA INDIAN RESERVATION, a                 ROSETTE DEFENDANTS ON
16   federally-recognized Indian tribe; and     THIRD CLAIM FOR RELIEF IN
     DOES 1 TO 100.                             FOURTH AMENDED
17                                              COMPLAINT;
                                                (2) MOTIONS FOR SUMMARY
18                                              JUDGMENT UNDER FEDERAL
                                                RULE OF CIVIL PROCEDURE 56
19                                              AGAINST QUECHAN TRIBE OF
                                                FORT YUMA INDIAN RESERVA-
20                                              TION ON FIRST AND SECOND
                                                CLAIMS FOR RELIEF IN
21                                              FOURTH AMENDED
                                                COMPLAINT AND
22                                              COUNTERCLAIMS IN THE
                                                QUECHAN TRIBE’S ANSWER TO
23                                              PLAINTIFF’S FOURTH
                                                AMENDED COMPLAINT AND
24                                              COUNTERCLAIMS
25                                              Date:      December 4, 2020
                                                Time:      1:30 PM
26                                              Dept:      2D
                                                Judge:     The Honorable Gonzalo P.
27                                                         Curiel
28
                                             Case No.: 17-CV-01436 GPC DEB
       C. WILLIAMS DECL. ISO WILLIAMS & COCHRANE’S MOTS. FOR SUMM. J.
Case 3:17-cv-01436-RBM-DEB Document 328-3 Filed 09/17/20 PageID.22853 Page 2 of 17



 1         I, CHERYL A. WILLIAMS, declare as follows:
 2         1.     I am an attorney duly licensed to practice before all the courts of the State of
 3   California and the United States District Court for the Southern District of California. I
 4   am a partner with the law firm of Williams & Cochrane LLP (the “Firm”), the plaintiff in
 5   this action, and also counsel for the Firm. I am competent to testify and base this
 6   declaration on personal knowledge and the records of the Firm. I submit this declaration
 7   in support of (1) Williams & Cochrane’s Motion for Summary Judgment Under Federal
 8   Rule of Civil Procedure 56 Against Rosette Defendants on Third Claim for Relief in
 9   Fourth Amended Complaint; and (2) Williams & Cochrane’s Motion for Summary
10   Judgment Under Federal Rule of Civil Procedure 56 Against Quechan Tribe of Fort
11   Yuma Indian Reservation on First and Second Claims for Relief in Fourth Amended
12   Complaint and Counterclaims in the Quechan Tribe’s Answer to Plaintiff’s Fourth
13   Amended Complaint and Counterclaims. As shown in the attached documents, I was an
14   author or original recipient of most every document herein. For those in which my name
15   does not appear as an author or recipient on the face of the document, I personally
16   obtained the documents from either (1) opposing counsel or a third party during the
17   discovery process in this action; or (2) publicly available online sources; or (3) a court or
18   court reporter; or (4) the business records of my Firm. Wherever possible, the exhibits
19   below include the bates number from the discovery process while also including the
20   exhibit number and consecutive page numbering above the bates number in order to
21   comply with Local Civil Rule 5.1 (e). In addition, documents previously filed on the
22   docket in this action (and related or substantially similar documents) will not be filed
23   under seal, despite their confidential designation, given that any confidentiality has been
24   waived.
25         2.     Attached hereto as Exhibit 1 is a true and correct copy of Expert Report of
26   Bryan A. Garner dated July 10, 2020 with Supplement dated July 24, 2020.
27         3.     Attached hereto as Exhibit 2 is a true and correct copy of Expert Report of
28   George Forman dated July 13, 2020.
                                    1        Case No.: 17-CV-01436 GPC DEB
       C. WILLIAMS DECL. ISO WILLIAMS & COCHRANE’S MOTS. FOR SUMM. J.
Case 3:17-cv-01436-RBM-DEB Document 328-3 Filed 09/17/20 PageID.22854 Page 3 of 17



 1         4.     Attached hereto as Exhibit 3 is a true and correct copy of Expert Rebuttal
 2   Report of George Forman dated July 27, 2020.
 3         5.     Attached hereto as Exhibit 4 is a true and correct copy of Expert Report of
 4   Anthony Miranda dated July 13, 2020.
 5         6.     Attached hereto as Exhibit 5 is a true and correct copy of Rosette Defendants
 6   [Amended] Privilege Log dated March 3, 2020.
 7         7.     Attached hereto as Exhibit 6 is a true and correct copy of Quechan Tribe’s
 8   [Amended] Privilege Log dated March 11, 2020.
 9         8.     Attached hereto as Exhibit 7 is a true and correct excerpted copy of Williams
10   & Cochrane’s First Set of Requests for Production of Documents to Defendant Robert
11   Rosette, Rosette & Associates, PC, and Rosette LLP, dated October 10, 2019.
12         9.     Attached hereto as Exhibit 8 is a true and correct copy of a November 15,
13   2020 Letter from Counsel for the Rosette Defendants Brittany Rogers to Counsel for
14   Plaintiff Cheryl Williams.
15         10.    Attached hereto as Exhibit 9 is a true and correct excerpted copy of Rosette
16   Defendants’ Amended Objections and Responses to Williams & Cochrane, LLP’s
17   Second Set of Requests for Admission, dated April 22, 2020.
18         11.    Attached hereto as Exhibit 10 is a true and correct excerpted copy of the
19   Quechan Tribe’s Objections and Responses to Williams & Cochrane, LLP’s Second Set
20   of Interrogatories dated April 13, 2020.
21         12.    Attached hereto as Exhibit 11 is a true and correct copy of excerpts from the
22   April 16, 2020 Transcript of Motion Hearing Before the Honorable Michael S. Berg
23   United States Magistrate Judge, dated April 23, 2020. See Dkt. No. 287.
24         13.    Attached hereto as Exhibit 12 is a true and correct copy of Declaration of
25   Keeny Escalanti filed in this action as Docket No. 29-2 (exhibit omitted).
26         14.    Attached hereto as Exhibit 13 is a true and correct copy of Declaration of
27   Mark William White II filed in this action as Docket No. 29-3.
28         15. Attached hereto as Exhibit 14 is a true and correct copy of Declaration of
                                          2            Case No.: 17-CV-01436 GPC DEB
       C. WILLIAMS DECL. ISO WILLIAMS & COCHRANE’S MOTS. FOR SUMM. J.
Case 3:17-cv-01436-RBM-DEB Document 328-3 Filed 09/17/20 PageID.22855 Page 4 of 17



 1   Christian Cienfuegos in Support of Rosette Defendants’ Motion to Dismiss Plaintiff’s
 2   Complaint Pursuant to Federal Rule of Civil Procedure 12(b)(6) filed in this action as
 3   Docket No. 32-2.
 4         16.   Attached hereto as Exhibit 15 is a true and correct copy of a June 28, 2017
 5   screen capture of the website biography for Robert Rosette from www.rosettelaw.com,
 6   attached to the Fourth Amended Complaint.
 7         17.   Attached hereto as Exhibit 16 is a true and correct copy of August 24, 2016
 8   email from Quechan Casino Resort Chief Executive Officer (“CEO”) Charles Montague
 9   to President Michael Jackson regarding Pauma Lawsuit, produced in discovery in this
10   action.
11         18.   Attached hereto as Exhibit 17 is a true and correct copy of September 29,
12   2016 “Attorney-Client Fee Agreement” between Williams & Cochrane and Quechan
13   Tribe, attached to the Fourth Amended Complaint.
14         19.   Attached hereto as Exhibit 18 is a true and correct copy of September 29,
15   2016 Quechan Resolution No. “R-195-16,” attached to the Fourth Amended Complaint.
16         20.   Attached hereto as Exhibit 19 is a true and correct excerpted copy of
17   “Tribal-State Compact between the State of California and the Quechan Indian Nation”
18   (i.e., one of the many substantively-identical 1999 Compacts), attached to the Fourth
19   Amended Complaint.
20         21.   Attached hereto as Exhibit 20 is a true and correct excerpted copy of
21   Amendment to Tribal-State Compact Between the State of California and the Quechan
22   Tribe of the Fort Yuma Indian Reservation, executed by the parties on June 15, 2006 and
23   June 26, 2006, attached to the Fourth Amended Complaint.
24         22.   Attached hereto as Exhibit 21 is a true and correct copy of October 12, 2016
25   Letter from Cheryl Williams to California Office of the Governor’s Senior Advisor for
26   Tribal Negotiations Joe Dhillon, produced in discovery.
27         23.   Attached hereto as Exhibit 22 is a true and correct copy of October 17, 2016
28   letter from the Office of the Governor’s Senior Advisor for Tribal Negotiations Joe
                                           3           Case No.: 17-CV-01436 GPC DEB
        C. WILLIAMS DECL. ISO WILLIAMS & COCHRANE’S MOTS. FOR SUMM. J.
Case 3:17-cv-01436-RBM-DEB Document 328-3 Filed 09/17/20 PageID.22856 Page 5 of 17



 1   Dhillon to Cheryl A. Williams, attached to the Fourth Amended Complaint.
 2         24.    Attached hereto as Exhibit 23 is a true and correct copy of October 25, 2016
 3   Letter from President Michael Jackson, Sr. to Office of the Governor’s Senior Advisor
 4   for Tribal Negotiations Joe Dhillon, produced in discovery.
 5         25.    Attached hereto as Exhibit 24 is a true and correct copy of December 6,
 6   2016 draft “Tribal-State Compact between the State of California and the Quechan Tribe
 7   of the Fort Yuma Indian Reservation” from State of California (with cover email, cover
 8   letter and listed attachments), attached to the Fourth Amended Complaint.
 9         26.    Attached hereto as Exhibit 25 is a true and correct copy of January 3, 2017
10   Letter from the Office of the Governor’s Senior Advisor for Tribal Negotiations Joe
11   Dhillon to President Michael Jackson, Sr., produced in discovery.
12         27.    Attached hereto as Exhibit 26 is a true and correct copy of January 10, 2017
13   email from Quechan Casino Resort Chief Financial Officer Phil Simons to Cheryl
14   Williams attaching a spreadsheet detailing Quechan’s “Quarterly Regulatory Payments”
15   to the State of California pursuant to the Tribe’s gaming compact, produced in discovery.
16         28.    Attached hereto as Exhibit 27 is a true and correct copy of March 9, 2017
17   letter from California Gambling Control Commission (“CGCC”) Executive Director
18   Stacy Luna Baxter to President Mike Jackson, Sr., attached to the Fourth Amended
19   Complaint.
20         29.    Attached hereto as Exhibit 28 is a true and correct copy of April 12, 2017
21   letter from CGCC Executive Director Stacy Luna Baxter to the “Honorable Keeny
22   Escalanti Sr., President Quechan Indian Nation”, attached to the Fourth Amended
23   Complaint.
24         30.    Attached hereto as Exhibit 29 is a true and correct copy of a printout of text
25   messages from my iPhone between myself (Cheryl Williams) and Quechan Casino
26   Resort Chief Financial Office Phil Simons, dated January 26, 2017 and March 29, 2017,
27   produced in discovery.
28         31. Attached hereto as Exhibit 30 is a true and correct copy of March 30, 2017
                                          4             Case No.: 17-CV-01436 GPC DEB
       C. WILLIAMS DECL. ISO WILLIAMS & COCHRANE’S MOTS. FOR SUMM. J.
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 1   email from CGCC Executive Director Stacy Luna Baxter to Cheryl Williams, produced
 2   in discovery.
 3         32.    Attached hereto as Exhibit 31 is a true and correct copy of April 4, 2017 and
 4   April 21, 2017 Letters from Cheryl Williams to CGCC Executive Director Stacy Luna
 5   Baxter, produced in discovery.
 6         33.    Attached hereto as Exhibit 32 is a true and correct copy of April 18, 2017
 7   email chain between Matt Eden and Courtney Monteiro of Sovereign Finance LLC
 8   Regarding Quechan, produced in discovery.
 9         34.    Attached hereto as Exhibit 33 is a true and correct copy of May 19, 2017
10   Letter from Cheryl Williams to Quechan Tribal Council, produced in discovery.
11         35.    Attached hereto as Exhibit 34 is a true and correct copy of April 13, 2017
12   draft “Tribal State Compact between the State of California and the Quechan Tribe of the
13   Fort Yuma Indian Reservation” from Williams & Cochrane LLP, produced in discovery.
14         36.    Attached hereto as Exhibit 35 is a true and correct excerpted copy of May
15   12, 2017 draft “Tribal State Compact between the State of California and the Quechan
16   Tribe of the Fort Yuma Indian Reservation” from State of California, attached to the
17   Fourth Amended Complaint.
18         37.    Attached hereto as Exhibit 36 is a true and correct copy of May 19, 2017
19   draft “Tribal State Compact between the State of California and the Quechan Tribe of the
20   Fort Yuma Indian Reservation” from Williams & Cochrane LLP, attached to the Fourth
21   Amended Complaint.
22         38.    Attached hereto as Exhibit 37 is a true and correct copy of a printout of text
23   messages from my iPhone between myself (Cheryl Williams) and Quechan Casino
24   Resort CEO Charles Montague, dated June 15, 2017 and June 26, 2017, produced in
25   discovery.
26         39.    Attached hereto as Exhibit 38 is a true and correct copy of printout of text
27   messages from my iPhone between myself (Cheryl Williams) and Quechan Vice
28   President Virgil Smith, dated June 15, 2017 and June 26, 2017, produced in discovery.
                                              5            Case No.: 17-CV-01436 GPC DEB
       C. WILLIAMS DECL. ISO WILLIAMS & COCHRANE’S MOTS. FOR SUMM. J.
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 1         40.   Attached hereto as Exhibit 39 is a true and correct copy of June 15, 2017
 2   email from Quechan Vice President Virgil Smith to Quechan Tribal Council regarding
 3   call from Cheryl Williams, produced in discovery.
 4         41.   Attached hereto as Exhibit 40 is a true and correct copy of June 21, 2017
 5   draft “Tribal State Compact between the State of California and the Quechan Tribe of the
 6   Fort Yuma Indian Reservation” from Williams & Cochrane LLP, attached to the Fourth
 7   Amended Complaint.
 8         42.   Attached hereto as Exhibit 41 is a true and correct copy of June 26, 2017
 9   letter from putative Quechan President Keeny Escalanti to Williams & Cochrane,
10   attached to the Fourth Amended Complaint.
11         43.   Attached hereto as Exhibit 42 is a true and correct copy of June 30, 2017
12   letter from putative Quechan President Keeny Escalanti to Williams & Cochrane,
13   attached to the Fourth Amended Complaint.
14         44.   Attached hereto as Exhibit 43 is a true and correct copy of June 27, 2017
15   email from Cecilia Zamora of Rosette LLP to Cheryl Williams, produced in discovery.
16         45.   Attached hereto as Exhibit 44 is a true and correct copy of June 28, 2017
17   email from Cecilia Zamora of Rosette LLP to Aracely Campa de Ramirez, Capitol
18   Director for Office of State Senator Ben Hueso 40th District, produced in discovery.
19         46.   Attached hereto as Exhibit 45 is a true and correct copy of “Tribal-State
20   Compact between the State of California and the Quechan Tribe of the Fort Yuma Indian
21   Reservation”, executed August 31, 2017, attached to the Fourth Amended Complaint.
22         47.   Attached hereto as Exhibit 46 is a true and correct copy of October 4, 2017
23   Testimony of Keeny Escalanti, Sr. Before Senate Committee on Indian Affairs, produced
24   in discovery.
25         48.   Attached hereto as Exhibit 47 is a true and correct copy of a screen capture
26   from the Facebook account of Mark William White II, aka Williem White, dated April
27   18, 2020, produced in discovery.
28         49. Attached hereto as Exhibit 48 is a true and correct excerpted copy of
                                         6           Case No.: 17-CV-01436 GPC DEB
       C. WILLIAMS DECL. ISO WILLIAMS & COCHRANE’S MOTS. FOR SUMM. J.
Case 3:17-cv-01436-RBM-DEB Document 328-3 Filed 09/17/20 PageID.22859 Page 8 of 17



 1   October 2018 Arizona Gaming Guide (located at www.azgamingguide.com), produced in
 2   discovery.
 3         50.    Attached hereto as Exhibit 49 is a true and correct copy of April 27, 2020 to
 4   May 3, 2020 email correspondence between then Quechan Tribal Councilmember Willie
 5   White (aka Mark William White II) and Attorney Wilson Pipestem with attached May 5,
 6   2017 Letter, produced in discovery.
 7         51.    Attached hereto as Exhibit 50 is a true and correct copy of June 1, 2017
 8   email from Quechan Tribal Councilmember Willie White (aka Mark William White II) to
 9   Quechan Executive Secretary and Alexis Summerfield, produced in discovery.
10         52.    Attached hereto as Exhibit 51 is a true and correct copy of June 24, 2018
11   email from Quechan Tribal Court Judge Claudette White to Quechan Tribal
12   Councilmember Willie White (aka Mark William White II), produced in discovery. See
13   https://www.quechantribe.com/departments-court.html      listing   Claudette   White   as
14   “Associate Judge” under the listing of “Court Staff” at the bottom of the webpage.
15         53.    Attached hereto as Exhibit 52 is a true and correct copy of screenshots from
16   www.pipestemlaw.com, the website for attorney Wilson Pipestem’s law firm.
17         54.    Attached hereto as Exhibit 53 is a true and correct excerpted copy of
18   Transcript of Videotaped Deposition of Robert Rosette from October 26, 2010 in Pauma
19   Band v. Harrah’s Operating Company, No. GIC847406 (S.D. Cal. filed May 13, 2005),
20   produced in discovery.
21         55.    Attached hereto as Exhibit 54 is a true and correct copy of a series of July
22   2011 e-mails between Robert Rosette and the State of California’s then-compact
23   negotiator Jacob Appelsmith, attached to the Fourth Amended Complaint.
24         56.    Attached hereto as Exhibit 55 is a true and correct excerpted copy of a May
25   31, 2015 email from Robert Rosette to individuals associated with the Pauma Band of
26   Mission Indians but who were not representatives of the Pauma tribal government at the
27   time the email was sent, which was produced in discovery.
28         57. Attached hereto as Exhibit 56 is a true and correct copy of The Quechan
                                          7            Case No.: 17-CV-01436 GPC DEB
       C. WILLIAMS DECL. ISO WILLIAMS & COCHRANE’S MOTS. FOR SUMM. J.
Case 3:17-cv-01436-RBM-DEB Document 328-3 Filed 09/17/20 PageID.22860 Page 9 of 17



 1   Tribe’s Objections and Responses to Williams & Cochrane, LLP’s First Set of Requests
 2   for Admission dated April 23, 2020.
 3         58.   Attached hereto as Exhibit 57 is a true and correct copy of a screen capture
 4   of the profile for Stephen M. Hart from the website for Lewis Roca Rothgerber Christie
 5   LLP located at www.lrrc.com.
 6         59.   Attached hereto as Exhibit 58 is a true and correct copy of Rincon’s Notice
 7   of Change of Counsel of Record filed February 13, 2008 in Rincon v. Schwarzenegger,
 8   No. 04 CV 1151W WMc (S.D. Cal) and excerpted June 2, 2008 Transcript of Motion
 9   Hearing from the same action, publicly available from the court’s docket.
10         60.   Attached hereto as Exhibit 59 is a true and correct copy of two articles
11   regarding Stephen Hart’s work: (1) article screen capture from the website for Lewis
12   Roca Rothgerber Christie LLP located at www.lrrc.com, entitled “Lewis Roca
13   Rothgerber Christie Assists Indian Tribe in Saving $400 Million by Negotiating
14   Innovative New Gaming Compact with State of California;” (2) article from Indian
15   Gaming July 2015 entitled “New Mexico Gaming Compact: A New Benchmark.”
16         61.   Attached hereto as Exhibit 60 is a true and correct copy of Declaration of
17   Stephen J. Calvacca filed on December 6, 2009 in NGV Gaming, Ltd. v. Harrah’s
18   Operating Company, No. 3:04 CV 03955 SC (N.D. Cal.), publicly available from the
19   court’s docket.
20         62.   Attached hereto as Exhibit 61 is a true and correct copy of materials related
21   to prior depositions of Stephen M. Hart: (1) Notice of the Deposition of Stephen M. Hart
22   filed on May 3, 2016 in The Tohono O’odham Nation v. Ducey, et. al., No. 2:15 CV
23   01135 DGC (Dist. Ariz.); (2) caption page from June 22, 2016 Transcript of Deposition
24   of Stephen Hart, Esq. in the same action; (3) caption page from May 14, 2012 Transcript
25   of Deposition of Stephen Hart, Esq. in a related action, all publicly available on the
26   court’s docket.
27         63.   Attached hereto as Exhibit 62 is a true and correct copy of Tohono O’odham
28   Nation Attorney Contracts filed on October 31, 2016 in State of Arizona, et al. v. Tohono
                                             8            Case No.: 17-CV-01436 GPC DEB
       C. WILLIAMS DECL. ISO WILLIAMS & COCHRANE’S MOTS. FOR SUMM. J.
 Case 3:17-cv-01436-RBM-DEB Document 328-3 Filed 09/17/20 PageID.22861 Page 10 of
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 1   O’odham Nation, No. 2:11 CV 00296 DGC (Dist. Az.), publicly available on the court’s
 2   docket.
 3         64.     Attached hereto as Exhibit 63 is a true and correct copy of Declaration of
 4   Laura Berglan in Support of The Tohono O’Odham Nation’s Motion for Attorney’s Fees
 5   filed on October 31, 2016 in State of Arizona, et al. v. Tohono O’odham Nation, No. 2:11
 6   CV 00296 DGC (Dist. Az.), publicly available on the court’s docket.
 7         65.     Attached hereto as Exhibit 64 is a true and correct copy of Expert Report of
 8   Steven Hart dated July 13, 2020.
 9         66.     Attached hereto as Exhibit 65 is a true and correct excerpted copy of The
10   Quechan Tribe’s Responses and Objections to Williams & Cochrane’s Second Set of
11   Requests for Production of Documents to Defendant Quechan Tribe of the Fort Yuma
12   Indian Reservation dated January 21, 2020.
13         67.     Attached hereto as Exhibit 66 is a true and correct excerpted copy of The
14   Quechan Tribe’s Amended Responses and Objections to Williams & Cochrane’s First
15   Sets of Requests for Production of Documents to Defendant Quechan Tribe of the Fort
16   Yuma Indian Reservation dated December 3, 2019.
17         68.     Attached hereto as Exhibit 67 is a true and correct excerpted copy of the
18   transcript of June 11, 2020 Deposition of Cheryl A. Williams, Esq. taken in this action,
19   dated June 26, 2020.
20         69.     Attached hereto as Exhibit 68 is a true and correct copy of a July 3, 2017
21   email from Cheryl Williams to Cecilia Zamora of Rosette LLP sending the last draft
22   compact from the compact negotiations between Quechan and the State of California
23   (attachment omitted).
24         70      Attached hereto as Exhibit 69 is a true and correct copy of a September 23,
25   2016 email from Kevin Cochrane to Quechan President Mike Jackson, Sr. with
26   attachment.
27         71.     I reviewed all the documents produced by Defendant Quechan Tribe during
28   discovery in this action. I found: zero (0) emails from the following Councilmembers in
                                               9            Case No.: 17-CV-01436 GPC DEB
        C. WILLIAMS DECL. ISO WILLIAMS & COCHRANE’S MOTS. FOR SUMM. J.
 Case 3:17-cv-01436-RBM-DEB Document 328-3 Filed 09/17/20 PageID.22862 Page 11 of
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 1   office at times during my Firm’s representation of the Tribe: former President Keeny
 2   Escalanti, Sr. (the President who signed the letter terminating my Firm), Cryselle Uribe,
 3   Juliana Comet, Jordan Joaquin, Marsha Hill, Lorraine White, and James Montague. Aside
 4   from the email correspondence with my Firm, I found zero (0) emails from former
 5   President Michael Jackson, Sr. (the President in office when my Firm was hired) and
 6   former Vice President Michael Jack (who also was in office when my Firm was hired). I
 7   found two (2) emails from Vice President Virgil Smith and one (1) from Councilmember
 8   Aaron Brown: one from Vice President Virgil Smith to the rest of the Tribal Council
 9   (Exhibit 39 herein), one from Councilmember Brown to Vice President Smith, and
10   another from Vice President Smith to Councilmember Brown. These are the only emails I
11   found between Quechan Tribal Council members, two of which are dated during the
12   period of my Firm’s representation of the Tribe from late September 2016 to the end of
13   June 2017 and one afterwards. These emails were presented as singular events in that no
14   one responded to them and no email conversation chain ensued from them. Even emails
15   from third parties to the Tribal Council members were very few in number and did not
16   contain any response from the Tribal Council. They generally consisted of the following:
17   emails from a tribal secretary primarily forwarding emails from me to the Tribal Council
18   and emails from two Tribal employees (Quechan Casino Resort CFO Phil Simon and
19   Quechan Casino Resort CEO Charles Montague) to the Tribal Council. I also found a
20   handful of emails from Councilmember William White generally consisting of the
21   following: requesting documents/asking questions of employees (e.g., Exhibit 50 herein);
22   sending notes to himself, contacting attorney Wilson Pipestem (Exhibit 49 herein); and
23   an email exchange initiated by tribal court Judge Claudette White (Exhibit 51 herein).
24         I declare under penalty of perjury under the laws of the United States of America
25   that the foregoing is true and correct.
26         Executed this 17th day of September, 2020 at Temecula, California.
27                                  By: /s/ Cheryl A. Williams
28                                    Cheryl A. Williams
                                   10           Case No.: 17-CV-01436 GPC DEB
       C. WILLIAMS DECL. ISO WILLIAMS & COCHRANE’S MOTS. FOR SUMM. J.
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                                      17



     TABLE OF EXHIBITS TO DECLARATION OF CHERYL WILLIAMS
   [Documents noted with an asterisk are redacted with unredacted versions lodged with
                   the Court pursuant to a pending motion to seal.]
    EX. NO.                         DOCUMENT                                PAGE
                Expert Report of Bryan A. Garner
        1                                                                     001
        2       Expert Report of George Forman                                018
        3       Expert Rebuttal Report of George Forman                       032
        4       Expert Report of Anthony Miranda                              041
        5       Rosette Defendants [Amended] Privilege Log dated              050
                March 3, 2020
        6       Quechan Tribe’s [Amended] Privilege Log dated March           148
                11, 2020
                Excerpted Williams & Cochrane’s First Set of Requests
        7       for Production of Documents to Defendant Robert               162
                Rosette, Rosette & Associates, PC, and Rosette LLP,
                dated October 10, 2019
                November 15, 2020 Letter from Counsel for the Rosette
        8       Defendants Brittany Rogers to Counsel for Plaintiff           165
                Cheryl Williams
                Excerpted Rosette Defendants’ Amended Objections and
        9       Responses to Williams & Cochrane, LLP’s Second Set of         166
                Requests for Admission, dated April 22, 2020
                Quechan Tribe’s Objections and Responses to Williams
       10       & Cochrane, LLP’s Second Set of Interrogatories dated         173
                April 13, 2020
                Excerpted April 16, 2020 Transcript of Motion Hearing
       11       Before the Honorable Michael S. Berg United States            188
                Magistrate Judge, dated April 23, 2020
                Declaration of Keeny Escalanti filed as Docket No. 29-2
       12       (attachment omitted)                                          209
                Declaration of Mark Williams White II filed as Docket
       13       No. 29-3                                                      215
                Declaration of Christian Cienfuegos in Support of
       14       Rosette Defendants’ Motion to Dismiss Plaintiff’s             221
                Complaint Pursuant to Federal Rule of Civil Procedure
                12(b)(6) filed as Docket No. 32-2
Case 3:17-cv-01436-RBM-DEB Document 328-3 Filed 09/17/20 PageID.22864 Page 13 of
                                      17



       15      June 28, 2017 screen capture of the website biography for   243
               Robert Rosette
               August 24, 2016 email from Quechan Casino Resort
       16      CEO Charles Montague to President Michael Jackson           248
               regarding Pauma Lawsuit
               September 29, 2016 “Attorney-Client Fee Agreement”
       17      between Williams & Cochrane and Quechan Tribe               249
               September 29, 2016 Quechan Resolution No. “R-195-16”
       18                                                                  258
               Excerpted “Tribal-State Compact between the State of
       19      California and the Quechan Indian Nation” (i.e., one of     260
               the many substantively-identical 1999 Compacts)
               Excerpted “Amendment to Tribal-State Compact
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               (with cover email, cover letter and attachments)
       25      January 3, 2017 Letter from the Office of the Governor’s    571
               Senior Advisor for Tribal Negotiations Joe Dhillon to
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       29      Printout of text messages from iPhone between Cheryl       581
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       *33     May 19, 2017 Letter from Cheryl Williams to Quechan        592
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               Yuma Indian Reservation” from Williams & Cochrane
               LLP
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       37      Williams and Quechan Casino Resort CEO Charles             892
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       50      member Willie White (aka Mark William White II) to        1223
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       51      Claudette White to Quechan Tribal Council member          1224
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       53      Robert Rosette from October 26, 2010 in Pauma Band v.     1227
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               Series of July 2011 e-mails between Robert Rosette and
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               May 31, 2015 email from Robert Rosette to individuals
       55      associated with the Pauma Band of Mission Indians but     1243
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               Excerpted The Quechan Tribe’s Objections and
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       57      the website for Lewis Roca Rothgerber Christie LLP         1247
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               Rincon’s Notice of Change of Counsel of Record filed
       58      February 13, 2008 in Rincon v. Schwarzenegger, No. 04      1248
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               (1) Article screen capture from the website for Lewis
       59      Roca Rothgerber Christie LLP located at www.lrrc.com,      1255
               entitled “Lewis Roca Rothgerber Christie Assists Indian
               Tribe in Saving $400 Million by Negotiating Innovative
               New Gaming Compact with State of California;” (2)
               Article from Indian Gaming July 2015 entitled “New
               Mexico Gaming Compact: A New Benchmark.”
               Declaration of Stephen J. Calvacca filed on December 6,
       60      2009 in NGV Gaming, Ltd. v. Harrah’s Operating             1260
               Company, No. 3:04 CV 03955 SC (N.D. Cal.)
               (1) Notice of the Deposition of Stephen M. Hart filed on
       61      May 3, 2016 in The Tohono O’odham Nation v. Ducey,         1263
               et. al., No. 2:15 CV 01135 DGC (Dist. Az.); (2) caption
               page from June 22, 2016 Transcript of Deposition of
               Stephen Hart, Esq. in the same action; (3) caption page
               from May 14, 2012 Transcript of Deposition of Stephen
               Hart, Esq. in the same action
               Tohono O’odham Nation Attorney Contracts filed on
       62      October 31, 2016 in State of Arizona, et al. v. Tohono     1268
               O’odham Nation, No. 2:11 CV 00296 DGC (Dist. Az.)
               Declaration of Laura Berglan in Support of The Tohono
       63      O’Odham Nation’s Motion for Attorney’s Fees filed on       1306
               October 31, 2016 in State of Arizona, et al. v. Tohono
               O’odham Nation, No. 2:11 CV 00296 DGC (Dist. Az.)
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               Excerpted The Quechan Tribe’s Responses and
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               Excerpted The Quechan Tribe’s Amended Responses
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               dated December 3, 2019.
               Excerpted transcript of June 11, 2020 Deposition of
       67      Cheryl A. Williams, Esq. taken in this action, dated June   1349
               26, 2020
               July 3, 2017 email from Cheryl Williams to Cecilia
       68      Zamora of Rosette LLP sending the last draft compact        1353
               from the compact negotiations between Quechan and the
               State of California (attachment omitted)
               September 23, 2016 email from Kevin Cochrane to
       69      Quechan President Mike Jackson, Sr. with attachment         1354
